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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                      )
                                                )
                               Plaintiff,       )
                                                )
                vs.                             )       Case No. 08-CR-30042-MJR-DGW-02
                                                )
 MERCY REGIONAL HEALTH                          )
 SYSTEMS, LTD.,                                 )
                                                )
                               Defendant.       )

                                 MEMORANDUM and ORDER

 REAGAN, District Judge:

                On August 21, 2008, the parties appeared before the Honorable Donald G. Wilkerson,

 United States Magistrate Judge of this District Court. Pursuant to Federal Rule of Criminal

 Procedure 11 and SDIL Rule 72.1(b)(2), with the consent of all parties and following a thorough

 colloquy, Defendant Mercy Regional Health Systems, Ltd. entered a guilty plea as to Counts 1, 2,

 3, 4, and 6 of the superseding indictment.

                By Report filed August 25, 2008, Judge Wilkerson recommends that the undersigned

 District Judge accept Mercy Regional’s plea of guilty, that a presentence investigation and report

 be prepared, and that the Defendant be adjudicated guilty and have sentence imposed accordingly

 (Doc. 55). The Report was sent to the parties along with a “NOTICE” informing them of their right

 to object to Judge Wilkerson’s Report. To date, no objections have been filed, and the period in

 which such objections may be filed has expired.

                Accordingly, the undersigned District Judge ADOPTS in its entirety Magistrate

 Judge Wilkerson’s Report and Recommendation (Doc. 55), ACCEPTS Mercy Regional’s plea of
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 guilty (as to Counts 1, 2, 3, 4, and 6), ADJUDGES Mercy Regional guilty, REFERS the matter to

 the United States Probation Office so that a presentence investigation and report can be prepared,

 and SETS a sentencing hearing for 1:30 p.m. on December 5, 2008.

                IT IS SO ORDERED.

                DATED this 10th day of September 2008.

                                                             s/Michael J. Reagan
                                                             MICHAEL J. REAGAN
                                                             United States District Judge




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